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 5                         UNITED STATES DISTRICT COURT
 6                       EASTERN DISTRICT OF WASHIGNTON
 7
     UNITED STATES OF AMERICA,                      No. 2:13-CR-008-WFN-11
 8
 9                      Plaintiff,                  ORDER GRANTING MOTION
     vs.                                            TO MODIFY CONDITIONS OF
10
     BRANDON LEIGH CHAVEZ,                          RELEASE
11
12                      Defendant.

13         BEFORE THE COURT is Defendant’s Motion to Modify the Order Setting
14   Conditions of Release, to permit travel to Western Washington for a family funeral
15   and to receive medical attention. The United States defers to the Court on the
16   Motion; the United States Probation Office does not object to the travel. The Court
17   has reviewed the reasons for the request. For good cause shown,
18         IT IS ORDERED that Defendant’s Motion, ECF No. 2444, is GRANTED.
19         Defendant is permitted to travel to Western Washington on July 26, 2014,
20   for the purposes outlined in his Motion, to return no later than August 3, 2014.
21   Prior to traveling, Defendant shall notify his U.S. Probation Officer of his contact
22   information while traveling, and provide his written travel itinerary.
23         All other terms and conditions of his release remain in effect.
24                DATED July 25, 2014.
25
26                                   _____________________________________
                                               JOHN T. RODGERS
27                                    UNITED STATES MAGISTRATE JUDGE
28
     ORDER - 1
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     ORDER - 2
